Filed 06/08/20                                         Case 20-11858                                                  Doc 20

     Form EDC6B3Bff      Order on Debtor(s)' Application for Waiver of the Chapter 7 Filing Fee (v.8.14)


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                  Robert E. Coyle United States Courthouse
                                       2500 Tulare Street, Suite 2501
                                           Fresno, CA 93721−1318



                       ORDER ON DEBTOR(S)' APPLICATION FOR WAIVER OF
                                 THE CHAPTER 7 FILING FEE

     In re
     Virginia Reyes                                                                                 Case Number
                                                                         Debtor(s).           20−11858 − B − 7


     After considering the debtor's Application for Waiver, the court orders that the application is:

     [ X ] GRANTED.

          However, the Court may order the debtor to pay the fee in the future if developments in administering
         the bankruptcy case show that the waiver was unwarranted. Furthermore, in the event that assets are
         discovered, the Clerk of Court may collect the filing fee as an administrative expense in this case.

     [   ] DENIED because:

         [   ]   The debtor's income appears to exceed 150% of the U.S. Dept. of Health and Human Services'
                 poverty guidelines.

         [   ]   The application is incomplete and/or inconsistent with the schedules submitted.

         [   ]   While the debtor's income is less than 150% of the U.S. Dept. of Health and Human Services'
                 poverty guideline, according to the application the debtor has sufficient assets to pay the filing
                 fee.

         [   ]   The debtor has failed to file the schedules and statements required by 11 U.S.C. §521(a) within
                 the time required by Fed. R. Bankr. P. 1007(c).

         [   ]   The case has been dismissed.

         [   ]   Other: _____________________________________________________________________

                 __________________________________________________________________________

                 __________________________________________________________________________

                 __________________________________________________________________________

     [   ] The clerk's office shall issue an Order Approving Payment of Filing Fee in Installments.
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     [   ] SCHEDULED FOR HEARING.

          The clerk's office will schedule a hearing on the application to take place after the scheduled meeting
     of creditors and will transmit a Notice of Hearing to you, your attorney, the chapter 7 trustee, and the
     United States Trustee.




                     Jun 08, 2020
